Case 6:23-cv-00609-JDK Document 14-1 Filed 02/09/24 Page 1 of 1 PageID #: 636



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



THE DAILY WIRE, LLC et al.,

               Plaintiffs,

       v.                                               Civil Action No. 6:23-cv-00609 (JDK)

UNITED STATES DEPARTMENT
OF STATE et al.,

               Defendants.


                                    [PROPOSED] ORDER

       Upon consideration of Defendants’ motion to transfer venue, it is hereby:

       ORDERED that Defendants’ motion is GRANTED; and

       ORDERED that this case be transferred to the United States District Court for the District

of Columbia.




                                                1
